Case 2:18-cv-02217-SJO-FFM Document 27-1 Filed 04/06/18 Page 1 of 14 Page ID #:413



 1 AVENATTI & ASSOCIATES, APC
   Michael J. Avenatti, State Bar No. 206929
 2 Ahmed Ibrahim, State Bar No. 238739
   520 Newport Center Drive, Suite 1400
 3 Newport Beach, CA 92660
   Telephone: 949.706.7000
 4 Facsimile: 949.706.7050

 5    Attorneys for Plaintiff Stephanie Clifford
      a.k.a. Stormy Daniels a.k.a. Peggy Peterson
 6

 7

 8                           UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10

11    STEPHANIE CLIFFORD a.k.a.                     CASE NO.: 2:18-cv-02217-SJO-FFM
      STORMY DANIELS a.k.a. PEGGY
12    PETERSON, an individual,
                                                    DECLARATION OF MICHAEL J.
13                       Plaintiff,                 AVENNATI IN SUPPORT OF
14          vs.                                     PLAINTIFF’S RESPONSE TO
                                                    JOINT EX PARTE APPLICATION
15                                                  OF DEFENDANTS ESSENTIAL
      DONALD J. TRUMP a.k.a. DAVID
16    DENNISON, and individual,                     CONSULTANTS, LLC AND
      ESSENTIAL CONSULTANTS, LLC, a                 DONALD J. TRUMP FOR
17    Delaware Limited Liability Company,           EXTENSION OF TIME TO
      MICHAEL COHEN and DOES 1
18    through 10, inclusive,                        RESPOND TO FIRST AMENDED
                                                    COMPLAINT
19
                         Defendants.
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     DECLARATION OF MICHAEL J. AVENATTI IN SUPPORT OF PLAINTIFF’S RESPONSE TO DEFENDANTS EX
        PARTE APPLICATION FOR EXTENSION OF TIME TO RESPOND TO FIRST AMENDED COMPLAINT
Case 2:18-cv-02217-SJO-FFM Document 27-1 Filed 04/06/18 Page 2 of 14 Page ID #:414



 1         I, Michael J. Avenatti, declare as follows:
 2

 3         1.     I am an attorney duly admitted to practice before this Court. I am an
 4   attorney with the law firm of Avenatti & Associates, APC, counsel of record for Plaintiff
 5   Stephanie Clifford (“Plaintiff”). I am submitting this declaration in support of Plaintiff’s
 6   Response to the Joint Ex Parte Application of Defendants Essential Consultants, LLC
 7   and Donald J. Trump for Extension of Time to Respond to First Amended Complaint. I
 8   have personal knowledge of the information stated herein and if called to testify to the
 9   same would and could do so.
10         2.     As reflected in the Court’s March 29, 2018 Order (Dkt No. 17), the Court set
11   out specific deadlines which, in our view, the Court intended for the parties to comply
12   with. I interpreted this very clear directive from the Court as an admonition to the parties
13   to make sure the parties not deviate from the Court’s instructions and that the deadlines
14   “must” be complied with. A stipulation to move Defendants’ response deadline would
15   constitute such a deviation. Indeed, this interpretation of the Court’s order is also based
16   on my past knowledge and experience with this Court, including the Court’s expectations
17   that its orders be carefully observed and obeyed.
18         3.     As a result, both on the phone on Monday, April 2nd, and in my e-mail to
19   Defendants’ counsel dated Tuesday, April 3rd, I stated:        “[A]s we have previously
20   explained, Judge Otero set out specific deadlines in his order last week, which we believe
21   he intends for the parties to follow. This is not a simple case of moving deadlines set by
22   the FRCP.” [See Blakely Decl., Ex. D (Dkt No. 26-1 at 16).]
23         4.     Counsel for Mr. Trump, Mr. Charles Harder, did not participate in the
24   Monday, April 2nd meet and confer discussion between the parties relating to the relief
25   sought by Defendants. By way of background, on March 30, counsel for Essential
26   Consultants, LLC (“EC”), Mr. Brent Blakely, requested a meet and confer with regards
27   to, among other things, a request for an extension of both EC and Mr. Trump’s deadline
28
                                               -1-
      DECLARATION OF MICHAEL J. AVENATTI IN SUPPORT OF PLAINTIFF’S RESPONSE TO DEFENDANTS
       EX PARTE APPLICATION FOR EXTENSION OF TIME TO RESPOND TO FIRST AMENDED COMPLAINT
Case 2:18-cv-02217-SJO-FFM Document 27-1 Filed 04/06/18 Page 3 of 14 Page ID #:415



 1   to respond to the FAC. [Blakely Decl., Ex. B (Dkt No. 26-1 at 11-12).] I agreed to a
 2   telephonic meet and confer (to accommodate Mr. Blakely’s trial schedule) on Monday,
 3   April 2nd.   Attached hereto as Exhibit A is a true and correct copy of an e-mail
 4   confirming our agreement to hold the meet and confer call at 11:00 a.m. on Monday,
 5   April 2.
 6         5.     Because the Monday call pertained at least in part to Defendants’ request for
 7   an extension, I understood that counsel for both Defendants would be present. And in
 8   fact, Mr. Harder indicated in an e-mail that he, too, would be participating in the meet
 9   and confer discussion on Monday. Attached hereto as Exhibit B is a true and correct
10   copy of an e-mail string in which Mr. Harder indicates he intends to participate in the
11   meet and confer.
12         6.     For this reason, when I dialed into the telephonic conference on Monday, I
13   was surprised that Mr. Harder was not on the phone. I advised Mr. Blakely that Mr.
14   Harder was required to be on the call per local rules and this Court’s standing order. Mr.
15   Blakely responded that he did not believe Mr. Harder’s participation was necessary.
16   Despite posing the question to both Mr. Harder and Mr. Blakely, I have not received an
17   explanation for why Mr. Harder did not participate in the meet and confer.
18         7.     I do not believe that I am at fault for the delay in scheduling the second meet
19   and confer discussion, either. EC claims I delayed 30 hours in responding to his request.
20   This is hyperbole. The timestamp on Mr. Blakely’s e-mail shows he sent the e-mail at
21   10:49 p.m. on Tuesday night (or 1:49 a.m. Wednesday on the east coast where I was
22   present at the time) proposing to meet and confer on Wednesday evening. [Blakely
23   Decl., Ex. D (Dkt No. 26-1 at 16).] I responded to Mr. Blakely. [Blakely Decl., Ex. E
24   (Dkt No. 26-1 at 22).] I advised Mr. Blakely that I was not available at that time because
25   of scheduled travel. Because I knew Mr. Blakely would be in trial through Friday, I
26   suggested that I could make himself “available over the weekend . . . if that is more
27   convenient.” [Id.] I did so in the belief that this would be more convenient to Mr.
28
                                               -2-
      DECLARATION OF MICHAEL J. AVENATTI IN SUUPORT OF PLAINTIFF’S RESPONSE TO DEFENDANTS
       EX PARTE APPLICATION FOR EXTENSION OF TIME TO RESPOND TO FIRST AMENDED COMPLAINT
Case 2:18-cv-02217-SJO-FFM Document 27-1 Filed 04/06/18 Page 4 of 14 Page ID #:416



 1   Blakely’s trial schedule, but at no point did I refuse to meet and confer at another time
 2   before the weekend.
 3

 4         I declare, under penalty of perjury and under the laws of the United States of
 5   America, that the foregoing is true and correct. Executed on April 6, 2018.
 6

 7                                                      /s/ Michael J. Avenatti
                                                        Michael J. Avenatti
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                                               -3-
      DECLARATION OF MICHAEL J. AVENATTI IN SUUPORT OF PLAINTIFF’S RESPONSE TO DEFENDANTS
       EX PARTE APPLICATION FOR EXTENSION OF TIME TO RESPOND TO FIRST AMENDED COMPLAINT
Case 2:18-cv-02217-SJO-FFM Document 27-1 Filed 04/06/18 Page 5 of 14 Page ID #:417




                                                  EXHIBIT A
     Case 2:18-cv-02217-SJO-FFM Document 27-1 Filed 04/06/18 Page 6 of 14 Page ID #:418


Judy K. Regnier

From:                               Brent Blakely <bblakely@blakelylawgroup.com>
Sent:                               Friday, March 30, 2018 7:02 PM
To:                                 Michael J. Avenatti
Cc:                                 charder@harderllp.com; Ryan Stonerock; Judy K. Regnier; Ahmed Ibrahim
Subject:                            RE: Clifford v. Trump, et al; Case No. 18-cv-02217-SJO-FFM



Thank you.  
  
Regards, Brent  
  
  
Brent H. Blakely, Esq. 
Blakely Law Group 
1334 Parkview Ave., Suite 280 
Manhattan Beach, California 90266 
Telephone: 310.546.7400 
Facsimile: 310.546.7401 
www.blakelylawgroup.com 
  
  
  
From: Michael J. Avenatti [mailto:mavenatti@eaganavenatti.com]
Sent: Friday, March 30, 2018 6:53 PM
To: Brent Blakely
Cc: charder@harderllp.com; Ryan Stonerock; Judy K. Regnier; Ahmed Ibrahim
Subject: Re: Clifford v. Trump, et al; Case No. 18-cv-02217-SJO-FFM 
  
That’s fine. But I don’t think we need a notice. 

Michael J. Avenatti, Esq. 
Eagan Avenatti, LLP 
520 Newport Center Drive, Ste. 1400 
Newport Beach, CA  92660 
Tel:  (949) 706‐7000 
Fax: (949) 706‐7050 
Cell: (949) 887‐4118 
mavenatti@eaganavenatti.com 
 

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unintended recipients is not authorized and may be unlawful. 
 
On Mar 30, 2018, at 6:19 PM, Brent Blakely <bblakely@blakelylawgroup.com> wrote: 

        Dear Mr. Avenatti:  
                                                             1
Case 2:18-cv-02217-SJO-FFM Document 27-1 Filed 04/06/18 Page 7 of 14 Page ID #:419
     
   Will you consent to hold the meet and confer conference on Monday telephonically due
   to the fact that I'm starting trial the next day in downtown Los Angeles and you're located
   in Newport Beach? If so, I'll put together a brief notice that we can get on file with the
   Court, and send it over for your approval.  
     
   Regards, Brent  
     
     
   Brent H. Blakely, Esq. 
   Blakely Law Group 
   1334 Parkview Ave., Suite 280 
   Manhattan Beach, California 90266 
   Telephone: 310.546.7400 
   Facsimile: 310.546.7401 
   www.blakelylawgroup.com 
     
     
     
   From: Brent Blakely [mailto:bblakely@blakelylawgroup.com]
   Sent: Friday, March 30, 2018 1:10 PM
   To: 'Michael J. Avenatti'
   Cc: 'charder@harderllp.com'; 'Ryan Stonerock'; 'Judy K. Regnier'; 'Ahmed Ibrahim'
   Subject: RE: Clifford v. Trump, et al; Case No. 18-cv-02217-SJO-FFM 
     
   Dear Mr. Avenatti:  
     
   1. EC is planning to file the motion within the next week. My understanding is that
   Mr. Trump intends to join in the motion 
     
   2. We disagree that this issue requires clarity in advance of our meeting on
   Monday. EC’s motion to compel arbitration should be granted regardless of whether Mr.
   Trump is a party or third party beneficiary to the agreement. Further, because you have
   disclosed our previous meet and confer discussions directly to CNN, and
   mischaracterized them, and CNN reported on the issue, and also because you disclosed
   our prior meet and confer discussions on your Twitter account, which we assume is
   monitored by scores if not hundreds of national and international reporters, and you also
   mischaracterized our discussions in the process, we do not intend to have any further
   communications with you that go beyond the strict requirements of the court’s rules.  
     
     
   Regards, Brent Blakely  
     
     
   Brent H. Blakely, Esq. 
   Blakely Law Group 
   1334 Parkview Ave., Suite 280 
   Manhattan Beach, California 90266 
   Telephone: 310.546.7400 

                                                      2
Case 2:18-cv-02217-SJO-FFM Document 27-1 Filed 04/06/18 Page 8 of 14 Page ID #:420
   Facsimile: 310.546.7401 
   www.blakelylawgroup.com 
     
     
     
   From: Michael J. Avenatti [mailto:mavenatti@eaganavenatti.com]
   Sent: Friday, March 30, 2018 12:01 PM
   To: Brent Blakely
   Cc: charder@harderllp.com; Ryan Stonerock; Judy K. Regnier; Ahmed Ibrahim
   Subject: RE: Clifford v. Trump, et al; Case No. 18-cv-02217-SJO-FFM
   Importance: High 
     
   Mr. Blakely:  
     
   Thank you for your email. I will disregard your personal attacks in the interest of professionalism. 
     
   We will be prepared to discuss each of these issues on Monday in our office in Newport Beach, CA
   beginning at 11:00 a.m. Please let me know if that is acceptable. In the interim, we reserve all rights. 
     
   Two issues that we require clarity on in advance of the meeting: 
     
   1. When do you anticipate filing a motion to compel arbitration and which parties will be filing said
   motion? 
   2. I inquired 10 days ago and have yet to receive an answer to the following question - Was Donald
   Trump ever a party to the agreement? If so, how and when? Presumably, your side has determined the
   answers to these questions as they are not complicated questions. 
     
   Thank you in advance. 
     
   Michael  
     
     
   Michael J. Avenatti, Esq. 
   Eagan Avenatti, LLP 
   520 Newport Center Drive, Ste. 1400 
   Newport Beach, CA  92660 
   Tel:  (949) 706‐7000 
   Fax: (949) 706‐7050 
   Cell: (949) 887‐4118 
   mavenatti@eaganavenatti.com 
     
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   recipient of this message, please notify the sender by replying to this message and then delete it from 
   your system.  Use, dissemination, or reproduction of this message by unintended recipients is not 
   authorized and may be unlawful. 
     

   From: Brent Blakely [bblakely@blakelylawgroup.com]
   Sent: Friday, March 30, 2018 11:43 AM
   To: Michael J. Avenatti
   Cc: charder@harderllp.com; Ryan Stonerock
   Subject: RE: Clifford v. Trump, et al; Case No. 18-cv-02217-SJO-FFM 


                                                        3
Case 2:18-cv-02217-SJO-FFM Document 27-1 Filed 04/06/18 Page 9 of 14 Page ID #:421
   Dear Mr. Avenatti:  
     
   I am writing to address three issues: 
     
   1. Meet and Confer re: Michael Cohen’s Anti-SLAPP Motion: We have yet to
   receive a response to my March 27, 2018 letter requesting a meet and confer regarding
   Mr. Cohen’s contemplated motion. (attached) It is disappointing that you have not
   responded given that you have had plenty of time to discuss this case on numerous
   national news shows. As previously indicated, I will be in trial beginning on Tuesday,
   April 3rd. Thus, please let me know your availability this afternoon, over the weekend,
   or on Monday. Also, please be advised that Mr. Cohen intends to concurrently file a
   Motion to Dismiss under FRCP 12(b)(6) on the basis that your client’s second cause of
   action fails to state a claim for relief. 
     
   2. Extension of EC/Mr. Trump’s Deadline to Respond to FAC: EC and defendant
   Donald J. Trump request that your client stipulate to a 30 day extension of their deadline
   to file a responsive pleading or Rule 12 motion. In light of EC’s upcoming motion to
   compel arbitration, we request this extension in the interests of judicial economy. We
   also note that Section B.2. of the Central District’s Civility and Professionalism
   Guidelines states, in part: “Unless time is of the essence, as a matter of courtesy we will
   grant first requests for reasonable extensions of time to respond to litigation
   deadlines.” If your client is not agreeable to this extension, we will have no choice but to
   raise this issue with the court. 
     
   3. Service of the First Amended Complaint on Michael Cohen: My office will
   agree to accept service of the First Amended Complaint on behalf of Michael
   Cohen. Please have the First Amended Complaint and Summons served on my office
   address, which is below.        
     
   We look forward to your prompt response. 
     
   Regards, Brent Blakely  
     
     
   Brent H. Blakely, Esq. 
   Blakely Law Group 
   1334 Parkview Ave., Suite 280 
   Manhattan Beach, California 90266 
   Telephone: 310.546.7400 
   Facsimile: 310.546.7401 
   www.blakelylawgroup.com 
     
     
     
   From: Monica Lawal [mailto:mlawal@blakelylawgroup.com]
   Sent: Tuesday, March 27, 2018 1:44 PM
   To: mavenatti@eoalaw.com


                                                  4
Case 2:18-cv-02217-SJO-FFM Document 27-1 Filed 04/06/18 Page 10 of 14 Page ID
                                  #:422
Cc: Brent Blakely; charder@harderllp.com; Ryan Stonerock
Subject: Clifford v. Trump, et al; Case No. 18-cv-02217-SJO-FFM 
  
Dear Mr. Avenatti,  
  
Please see attached from Mr. Blakely.  
  
Regards, 
  
Monica Lawal 
Blakely Law Group 
1334 Parkview Avenue, Suite 280 
Manhattan Beach, California 90266 
T: 310.546.7400 
F: 310.546.7401 
**************************************** 
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Case 2:18-cv-02217-SJO-FFM Document 27-1 Filed 04/06/18 Page 11 of 14 Page ID
                                  #:423




                                               EXHIBIT B
      Case 2:18-cv-02217-SJO-FFM Document 27-1 Filed 04/06/18 Page 12 of 14 Page ID
                                        #:424

Judy K. Regnier

From:                              Charles Harder <charder@harderllp.com>
Sent:                              Friday, March 30, 2018 1:32 PM
To:                                Michael J. Avenatti
Cc:                                Brent Blakely; Ryan Stonerock; Judy K. Regnier; Ahmed Ibrahim
Subject:                           Re: Clifford v. Trump, et al; Case No. 18-cv-02217-SJO-FFM


Mr Avenatti:  This will confirm that we will meet at your office at 11 AM on Monday. 

Charles J. Harder  
HARDER LLP 
132 S. Rodeo Drive, Fourth Floor 
Beverly Hills, CA  90212 
(424) 203‐1600 
www.HarderLLP.com 
 
Sent from iPhone; please excuse any typos.  
 
On Mar 30, 2018, at 12:01 PM, Michael J. Avenatti <mavenatti@eaganavenatti.com> wrote: 

        Mr. Blakely:

        Thank you for your email. I will disregard your personal attacks in the interest of professionalism.

        We will be prepared to discuss each of these issues on Monday in our office in Newport Beach, CA
        beginning at 11:00 a.m. Please let me know if that is acceptable. In the interim, we reserve all rights.

        Two issues that we require clarity on in advance of the meeting:

        1. When do you anticipate filing a motion to compel arbitration and which parties will be filing said
        motion?
        2. I inquired 10 days ago and have yet to receive an answer to the following question - Was Donald
        Trump ever a party to the agreement? If so, how and when? Presumably, your side has determined the
        answers to these questions as they are not complicated questions.

        Thank you in advance.

        Michael

         
        Michael J. Avenatti, Esq. 
        Eagan Avenatti, LLP 
        520 Newport Center Drive, Ste. 1400 
        Newport Beach, CA  92660 
        Tel:  (949) 706‐7000 
        Fax: (949) 706‐7050 
        Cell: (949) 887‐4118 
        mavenatti@eaganavenatti.com 
         
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Case 2:18-cv-02217-SJO-FFM Document 27-1 Filed 04/06/18 Page 13 of 14 Page ID
                                  #:425
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your system.  Use, dissemination, or reproduction of this message by unintended recipients is not 
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From: Brent Blakely [bblakely@blakelylawgroup.com]
Sent: Friday, March 30, 2018 11:43 AM
To: Michael J. Avenatti
Cc: charder@harderllp.com; Ryan Stonerock
Subject: RE: Clifford v. Trump, et al; Case No. 18-cv-02217-SJO-FFM

Dear Mr. Avenatti:  
  
I am writing to address three issues: 
  
1. Meet and Confer re: Michael Cohen’s Anti-SLAPP Motion: We have yet to
receive a response to my March 27, 2018 letter requesting a meet and confer regarding
Mr. Cohen’s contemplated motion. (attached) It is disappointing that you have not
responded given that you have had plenty of time to discuss this case on numerous
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April 3rd. Thus, please let me know your availability this afternoon, over the weekend,
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Motion to Dismiss under FRCP 12(b)(6) on the basis that your client’s second cause of
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2. Extension of EC/Mr. Trump’s Deadline to Respond to FAC: EC and defendant
Donald J. Trump request that your client stipulate to a 30 day extension of their deadline
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also note that Section B.2. of the Central District’s Civility and Professionalism
Guidelines states, in part: “Unless time is of the essence, as a matter of courtesy we will
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deadlines.” If your client is not agreeable to this extension, we will have no choice but to
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Cohen. Please have the First Amended Complaint and Summons served on my office
address, which is below.        
  
We look forward to your prompt response. 
  
Regards, Brent Blakely  
  
  
Brent H. Blakely, Esq. 
Blakely Law Group 
1334 Parkview Ave., Suite 280 
                                                     2
Case 2:18-cv-02217-SJO-FFM Document 27-1 Filed 04/06/18 Page 14 of 14 Page ID
                                    #:426
 Manhattan Beach, California 90266 
 Telephone: 310.546.7400 
 Facsimile: 310.546.7401 
 www.blakelylawgroup.com 
  
  
  
From: Monica Lawal [mailto:mlawal@blakelylawgroup.com]
Sent: Tuesday, March 27, 2018 1:44 PM
To: mavenatti@eoalaw.com
Cc: Brent Blakely; charder@harderllp.com; Ryan Stonerock
Subject: Clifford v. Trump, et al; Case No. 18-cv-02217-SJO-FFM 
  
Dear Mr. Avenatti,  
  
Please see attached from Mr. Blakely.  
  
Regards, 
  
Monica Lawal 
Blakely Law Group 
1334 Parkview Avenue, Suite 280 
Manhattan Beach, California 90266 
T: 310.546.7400 
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                                                  3
